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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

___________________________________
                                        )
Michael Devine,                         )
                                        )
          Plaintiff,                    )
                                        )          Civil Action
v.                                      )          No. 21-cv-11230-PBS
                                        )
Town of Hull,                           )
Town of Hull School Committee,          )
David Twombly,                          )
Stephanie Peters,                       )
Jennifer Fleming,                       )
Lucas Patenaude, and                    )
Eric Hipp,                              )
each in their capacity as               )
members of the Town of Hull             )
School Committee,                       )
                                        )
          Defendants.                   )
______________________________          )


                         MEMORANDUM AND ORDER

                           January 17, 2024

Saris, D.J.

                             INTRODUCTION

     This case arises out of the decision to terminate the Town of

Hull Superintendent of Public Schools based on communications he

had with a 21-year-old, former student three years after the

student had graduated. Michael Devine filed a complaint against

the School Committee alleging violation of the First Amendment

(Count I), Breach of Contract (Count II), Defamation (Count III),

Intentional Infliction of Emotional Distress (Count IV), Negligent


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Infliction of Emotional Distress (Count V), Breach of the Covenant

of Good Faith and Fair Dealing (Count VI), Discrimination (Count

VII), and Interference with Advantageous Economic Relations (Count

VIII). Defendants moved for summary judgment, and the Court held

a hearing on the motion. For the reasons that follow, the motion

is ALLOWED IN PART and DENIED IN PART.

I.   BACKGROUND

     When all reasonable inferences are drawn in favor of the non-

moving party, the following facts are undisputed except where

stated.

     A.   Parties

     Plaintiff, Michael Devine, was Superintendent of Hull Public

Schools from August 2, 2017, to April 29, 2020.

     Defendants   are   the   Town   of   Hull,   Town   of   Hull     School

Committee, and Town of Hull School Committee Members David Twombly,

Stephanie Peters, Jennifer Fleming, Lucas Patenaude, and Eric

Hipp, each in their capacity as members of the Town of Hull School

Committee.

     B.   Factual Background

     From July 2009 to August 1, 2017, Devine was employed as the

Principal of Hull High School. On August 2, 2017, Devine was

appointed Superintendent of the Hull Public Schools. Devine’s

contract was subsequently extended.




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      While Devine was still serving as Principal, he made the

acquaintance of a high school student, Ryan Hauter. Due to an

unstable family life and other personal challenges, Hauter needed

additional support and was assigned to work with Hull High School’s

Student Assistant Team. As part of the program, he was assigned an

internship in Devine’s office, a position that existed before and

after Hauter held the role. Devine never spoke to Hauter outside

of   school   hours   while   he   was   a   student,   nor   did   he   act

inappropriately toward him during that time.

      Andrea Centerrino, the school Social Worker, was another

mentor to Hauter. Centerrino shared her personal cell phone number

with Hauter, and they remained in close contact during high school

and have done so ever since.

      After Hauter graduated from Hull High School in 2017 and

Devine was appointed Superintendent, Hauter and Devine met twice

in person, both times in Devine’s office. At one of those meetings,

Hauter was visibly shaken and teary, and, concerned for his mental

health, Devine gave him his personal cell phone number.

      At some point Devine learned that Hauter had moved to Florida.

Devine and Hauter started exchanging text messages in 2019. While

Hauter was living in Florida, Devine learned from Centerrino that

Hauter had tried to commit suicide. After receiving treatment for

his suicide attempt, Hauter reached out to Devine. They had various




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conversations by text. Devine mentioned his boyfriend to Hauter

which was the first time Devine had referenced being gay.

     In September 2019, Hauter sent a text message to Devine saying

“I love you” followed by two emojiis. Dkt. 38-2 at 17. The next

evening, Hauter and Devine exchanged the following text messages:1

     Hauter:    Point is, you can’t make me uncomfortable

     Devine:    You don’t think?

     Hauter:    Highly unlikely

     Devine:    Really?

     Hauter:    Yeah

     Devine:    So...,
                Have you thought about us in a different way?

     Hauter:    I haven’t, I’m sorry that doesn’t change anything
                tho

     Devine:    Ok. Glad that is out of the way!!!

     . . .

     Devine:    Awkwardness and uncertainty over!!
                And why you laugh so hard?
                [smiling crying emoji]

     Hauter:    It was a shock hahaha

     Devine:    What was?
                Just kidding!

     Hauter:    Hahahah my thinking was “my former principal just
                came on to me” hahahaha

     Devine:    No he didn’t!


1These text exchanges were saved as screenshots from Hauter’s cell
phone. The full conversations were deleted, so there is no
indication of what time or day they were sent and received or what
preceded and followed them in the exchange.


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           Well...

Hauter:    It’s okay

. . .

Devine:    You totally knew what I was hinting at didn’t you?

Hauter:    Yes

Devine:    Thought so.
           But you had to let me put it out there , huh?

Hauter:    I didn’t say anything, I honestly wasn’t expecting
           it hahahah

Devine:    You wondered though didn’t you? [smiley emoji]

Hauther:   I had no thought of it to be completely honest
           [smiling crying emoji]

Devine:    That’s because you don’t realize what an amazzing
           person you are.

. . .

Devine:    Awesome. Psyched to hear that!!!
           Never want u to be uncomfortable
           You have had enough of that in your life so just
           want everything to be clear.

Hauter:    Absolutely

Devine:    Good.

           So you have now seen my vulnerable side.

Hauter:    You’ve seen mine so we’re even now

Devine:    But mine is really bad. So pissed at myself. Sorry.

. . .

Devine:    So I’ll never bring this conversation up again and
           when I see u when u get up here it will be like
           this never took place.

Hauter:    Don’t sweat it at all seriously don’t. let’s just
           put it behind us



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    Devine:       Yup!! Never happened ! Although I do have to tell
                  u one thing ...
                  And it will be weird but do u want to hear it?

    Hauter:       No I’m sorry

    Devine:       That’s all good!
                  You have no reason to
                  [unintelligible]

    . . .

    Hauter:       It’s okay

    Devine:       No it’s not.

    Hauter:       How so

    Devine:       Crossed the line.

    Hauter:       It’s seriously okay
                  We’re two adults
                  I’m still talking to you

    Devine:       True but shouldn’t have gone there.

    Hauter:       Don’t sweat it at all. I’m not worrying about it

    Devine:       Ok. Thanks. Now I know.
                  Wondered but now I know.

Dkt. 38-8.

    On September 18, 2019, sometime after these exchanges took

place, Hauter contacted Centerrino and told her that Devine had

sent him sexual messages that confused and upset him. Centerrino

contacted Nicole Nosek, the Principal of Hull High School at the

time,   explaining    that    she   was       concerned   about   communications

between a faculty member and former student which were making the

former student very upset. Nosek asked Centerrino to meet with

Devine, which she then did. At that meeting, Devine admitted that



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he had crossed the line. Neither Centerrino nor Nosek reported the

incident to the School Committee.

     In January 2020, Hauter sent the following messages to Devine:

     Hauter:    I’m so fucking mad at you. You literally ruined our
                relationship. I looked up to you. You were my best
                friend. I spoke so highly of you and defended your
                name. Why would you ever think it would go by
                unnoticed to ask me what you asked me. How could
                you possibly think that things would be the same
                after that. The lack of restraint and the lack of
                judgment on your end is appalling. And it also
                leaves me wondering, when did you start thinking
                that way about me? When I was 17?
                [unintelligible]
                . . .
                You were the person I came to when I needed to cry
                about my fucked up life. And I came to respect you
                so highly for caring so much and helping me get
                through those bad days and now you’ve led me to
                believe   that    you   took   advantage    of   my
                vulnerability. I told you I was suicidal. I told
                you I tried to kill myself. I told you I was going
                through a break up after 4 years. And instead of
                just fucking being there for me you come on to me?
                What the fuck even is that? You’ve hurt me more
                than you will ever know. Live with that.

Dkt. 38-9. Hauter subsequently sent Devine a message saying, in

essence, resign or he (Hauter) would go public.

     On January 20, 2020, Hauter reached out to School Committee

Member Jennifer Fleming via Facebook and told her about his

exchange with Devine. On January 27, 2020, Devine was called to

a meeting with School Counsel Michael Maccaro, Fleming, and

Chair of the School Committee David Twombly to discuss the text

exchange. Devine was advised to retain counsel and take the next

few days off.


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     On January 29, 2020, the School Committee held a meeting in

executive session which Devine attended accompanied by counsel.

Devine apologized for creating the situation. At some point, School

Committee Member Lucas Patenaude asked Devine directly if he was

gay. Devine responded in the affirmative. Devine noted that he

thought if his texts with Hauter were between a man and a woman it

would have been treated differently. Patenaude then told Devine

something to the effect of “you’re giving the gay cause a bad

name.” Dkt. 38-2 at 41. The notes from the executive session

indicate that “Mr. Devine demonstrated predatory and grooming

behavior.” Dkt. 38-15 at 14. At that session, Devine through

counsel, offered to tender his resignation.

     Several days later, the School Committee learned that there

may have been another allegation about Devine’s conduct from

another former student. Devine was placed on paid administrative

leave. On February 3 and 5, the School Committee issued separate

press releases indicating that Devine was being investigated for

allegations   of   personal   misconduct   and   that    the   Hull    Police

Department had been notified. See Dkts. 38-20, 38-23.

     During that time, the School Committee retained Guilfoil

Public Relations LLC (“Guilfoil”), who already had a contract with

the School District on unrelated matters, to investigate the

allegations   against   Devine.   Guilfoil    hired     retired   Arlington




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Police Chief Frederick Ryan and retired Massachusetts State Police

Captain Greg Foley to conduct the investigation.

     On   February   5,   the   School   Committee   received   a   written

narrative from a young man and former student of Norwell High

School that contained similar allegations to those of Hauter. He

confirmed these allegations in a phone call to Foley. The former

student, Timothy J. Dalferro, alleged that Devine had been a mentor

to him while Devine was an administrator and teacher at Norwell

High School and the young man was a student. After the young man

had graduated and had turned 21, Devine made sexual advances toward

him. The young man was extremely hurt and upset and felt betrayed

by Devine’s changed attitude toward him. A website called Turtleboy

reported a third alleged victim who was not identified and did not

offer verifiable information.

     At the end of March 2020, the School Committee convened an

executive session to discuss the result of the investigation into

Devine’s conduct. Investigator Foley summarized his findings and

concluded that Devine’s behavior toward Hauter was unethical, that

he had “groomed” Hauter while he was a student, and that his

behavior violated the School’s sexual harassment policy.2


2 It is worth noting that the only record of the interviews
referenced in the investigative report are Foley’s summaries
contained therein. Although Foley apparently recorded the
interviews on his phone, he later deleted them. The witnesses were
not presented with the summaries of their statements or given the
opportunity to confirm or modify them. There is no evidence that


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      Two weeks later, Devine received a notice of intent to

terminate    his    employment          in   accordance       with    his    employment

agreement, with the investigator’s report attached. On April 28,

2020, the School Committee held an executive session. Devine was

represented by counsel and had the opportunity to speak. The School

Committee    voted        5-0     to     terminate     Devine’s       employment      as

Superintendent       of    Hull        Public     Schools     for    cause    effective

April 29, 2020. Since then, Devine has been unable to secure

employment in his field despite efforts to do so.

II.   LEGAL STANDARD

      Summary      judgment       is     appropriate        when,    based    upon   the

pleadings,   affidavits,          and    depositions,        “there   is     no   genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A fact is

“material” if it “might affect the outcome of the suit under the

governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). A dispute is “genuine” if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.”

Id.

      Generally, “a party seeking summary judgment always bears the

initial responsibility of informing the district court of the basis




the summaries were inaccurate; however, it is far from best
practice to conduct an investigation without ensuring some means
for its review.


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for its motion.” Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986). “To succeed, the moving party must show that there is an

absence of evidence to support the nonmoving party’s position.”

Rogers v. Fair, 902 F.2d 140, 143 (1st Cir. 1990). Once it has

made the requisite showing, the burden shifts to the nonmovant to

“present definite, competent evidence to rebut the motion” and

demonstrate      that    a    “trialworthy      issue    persists.”    Vineberg     v.

Bissonnette, 548 F.3d 50, 56 (1st Cir. 2008) (internal citations

and quotations omitted). “‘[T]he mere existence of a scintilla of

evidence’ is insufficient to defeat a properly supported motion

for summary judgment.” Torres v. E.I. Dupont De Nemours & Co., 219

F.3d 13, 18 (1st Cir. 2000) (quoting Anderson, 477 U.S. at 252).

III. DISCUSSION

     A.     Civil Rights Claims (Count I)

            1.     First Amendment – Freedom of Speech

     Devine      claims      that    his   text   exchanges   with     Hauter     were

protected    by    the       First    Amendment    and    Defendants       wrongfully

retaliated against him.

     “To    prevail      on    a     speech-retaliation     claim     as    a   public

employee, a plaintiff must prove that (1) []he ‘spoke as a citizen

on a matter of public concern,’ (2) [his] employer lacked ‘an

adequate justification for treating [him] differently from any

other member of the general public,’ and (3) [his] ‘protected

expression was a substantial or motivating factor in the adverse


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employment decision.’” Salmon v. Lang, 57 F.4th 296, 308 (1st Cir.

2022) (quoting Bruce v. Worcester Reg’l Transit Auth., 34 F.4th

129, 135 (1st Cir. 2022)).

       Accordingly,     the    Court   must    first       decide   whether     the

litigation at issue can be “fairly characterized as constituting

speech on a matter of public concern.” Connick v. Myers, 461 U.S.

138, 146 (1983). “Whether an employee’s speech addresses a matter

of public concern must be determined by the content, form, and

context of a given statement, as revealed by the whole record.”

Id. at 147-48. Once plaintiff has demonstrated that he has engaged

in speech implicating matters of public concern, the government’s

“burden in justifying a particular discharge varies depending upon

the nature of the employee’s expression.” Id. at 150. “When close

working    relationships        are    essential      to    fulfilling       public

responsibilities, a wide degree of deference to the employer’s

judgment is appropriate.” Id. at 151-52. However, “a stronger

showing    may    be    necessary      if    the     employee’s     speech    more

substantially involved matters of public concern.” Id. at 152. If

“the   employee’s      and    the   public’s       First   Amendment   interests

outweigh    a    legitimate    governmental        interest    in   curbing    the

employee’s speech, [the employee] must show that the protected

expression was a substantial or motivating factor in an adverse

employment action.” Tang v. Rhode Island Dep’t of Elderly Affs.,




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163 F.3d 7, 12 (1st Cir. 1998) (citing O’Connor v. Steeves, 994

F.2d 905, 913 (1st Cir. 1993)).

       Here, Devine’s speech is not protected. Devine’s texts with

Hauter discussed the metes and bounds of a personal relationship

via private text message. Thus, the speech does not implicate a

“matter of public concern.” As Devine’s speech was not protected

by the First Amendment, his retaliation claim must fail.

             2.        First Amendment – Freedom of Association

       Devine next contends that his freedom of association has been

violated by Defendants’ intrusion into his personal relationship

with Hauter. This is not so.

       The Supreme Court has “long understood as implicit in the

right to engage in activities protected by the First Amendment a

corresponding right to associate with others in pursuit of a wide

variety of political, social, economic, educational, religious,

and cultural ends.” Roberts v. United States Jaycees, 468 U.S.

609, 622 (1984) (citing cases). However, the Constitution only

protects against state action “to the extent that the targeted

association       is    characterizable        in   terms   of   some   particular

constitutional          concern.”   See    Correa-Martinez        v.    Arrillaga-

Belendez, 903 F.2d 49, 57 (1st Cir. 1990), overruled on other

grounds by Educadores Puertorriquenos en Accion v. Hernandez, 367

F.3d    61    (1st       Cir.   2004)     (collecting       cases).     A   school




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superintendent’s personal relationship with a student is not a

protected form of association.

            3.     Procedural Due Process

      Devine asserts that Defendants deprived him of due process of

law because they decided to terminate him before giving him an

opportunity to be heard.

      The Due Process Clause of the Fourteenth Amendment provides

that no state shall “deprive any person of life, liberty, or

property, without due process of law.” U.S. Const. amend. XIV,

§ 1. Accordingly, “certain substantive rights -- life, liberty,

and   property      --   cannot    be      deprived    except     pursuant      to

constitutionally adequate procedures.” Cleveland Bd. of Educ. v.

Loudermill, 470 U.S. 532, 541 (1985). “‘[T]he root requirement’ of

the Due Process Clause” is that an individual must be provided

notice and an opportunity to be heard prior to being “‘deprived of

any significant property interest.’” Id. at 542 (quoting Boddie v.

Connecticut, 401 U.S. 371, 379 (1971)).

      In   evaluating    a    procedural     due   process     claim   under   the

Fourteenth       Amendment,    courts    must      determine     “whether      [the

plaintiff] was deprived of a protected interest, and, if so, what

process was his due.” Logan v. Zimmerman Brush Co., 455 U.S. 422,

428 (1982). Accordingly, “[t]o establish a procedural due process

violation, the plaintiff ‘must identify a protected liberty or

property interest and allege that the defendants, acting under


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color of state law, deprived [him] of that interest without

constitutionally adequate process.’” González–Droz v. González–

Colón, 660 F.3d 1, 13 (1st Cir. 2011) (second alteration in

original) (quoting Aponte–Torres v. Univ. of Puerto Rico, 445 F.3d

50, 56 (1st Cir. 2006)).

      Here, the parties agree that Devine possessed a property

interest in his employment by virtue of his employment agreement.

Defendants submit that        Devine was given notice of intent to

terminate his employment and was provided with an opportunity for

a meeting before the School Committee to present reasons why the

Committee should not terminate his employment. Devine responds

that (1) the executive session did not bear the hallmarks of a

hearing and therefore was insufficient to meet the requirements of

due   process,   and   (2)   the   executive   session   was   a   sham,   the

Committee having already decided to terminate him.

      A termination hearing “‘need not be elaborate’ as long as an

employee receives (1) ‘oral or written notice of the charges

against him,’ (2) ‘an explanation of the employer's evidence,’ and

(3) ‘an opportunity to present his side of the story.’” Chmielinski

v. Massachusetts, 513 F.3d 309, 316 (1st Cir. 2008) (quoting

Cleveland Bd., 470 U.S. at 545-46).

      Devine contends that the April 28, 2020 Executive Session

(the “Executive Session”) did not qualify as a hearing under due

process because he was not permitted to ask questions and because


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it was repeatedly characterized at the time as “not a hearing.”

See Dkt. 43-24. In addition, in a letter dated April 24, 2020,

Devine was informed that his counsel was permitted to “be present

. . . during deliberations” and “to have counsel . . . present and

attending for the purpose of advising [Plaintiff] [but] not for

the purpose of active participation in the executive session.”

Dkt. 43-25   at   2.   Therefore,   Devine   concludes,   the   Executive

Session cannot be characterized as a hearing as was required by

procedural due process.

     Devine’s arguments are misplaced. The Supreme Court has noted

that a pretermination hearing “need not be elaborate” and in

general, “‘something less’ than a full evidentiary hearing is

sufficient prior to adverse administrative action.” Cleveland Bd.,

470 U.S. at 545 (quoting Mathews v. Eldridge, 424 U.S. 319, 343

(1976)). Here, Devine was presented with the evidence in support

of his termination and was given the opportunity to respond. That

is sufficient to meet the constitutional threshold.

     Devine next contends that the entire Executive Session was a

sham. Devine points to Executive Session Minutes from sessions

earlier in the spring reflecting the Committee’s willingness to

proceed with termination as evidence that the Committee had already

decided to terminate Devine prior to the April 28, 2020 Executive

Session. This argument misses the mark in the employment context.

“[E]mploying authorities may preside at termination hearings even


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though they instituted the termination proceedings.” Lawless v.

Town of Freetown, 63 F.4th 61, 68 (1st Cir. 2023); see also Acosta-

Sepulveda v. Hernandez-Purcell, 889 F.2d 9, 12 (1st Cir. 1989).

The hearing is a safeguard meant to determine “whether there are

reasonable grounds to believe that the charges against the employee

are true and support the proposed action.” Cleveland Bd., 470 U.S.

at 545–46.

     Here, it is true that the Committee had already proposed

terminating Devine’s employment agreement before the Executive

Session was held, but the final decision was not made until the

results of the investigation were presented and Devine had an

opportunity to be heard. As there is no other evidence that the

hearing was a pretext or that fundamental due process qualities

(like adequate notice) were not provided, Devine’s argument is not

supportable.

     Finally,    Devine   contends    that      Defendants     withheld    the

Administrative Review which contained the basis for the proposed

termination for nearly six weeks. However, the Review was produced

to Devine on April 13, 2020, two weeks before the Executive

Session. While it would have been better practice to produce the

Review when it was finalized, the delay did not violate Devine’s

constitutional   rights   because    he   has    not   shown   that   he   had

inadequate time to respond.




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     Accordingly, Defendants’ motion for summary judgment as to

Count I is ALLOWED.

     B.   Breach of Contract Claim (Count II); Breach of the
          Covenant of Good Faith and Fair Dealings (Count VI)

     Devine asserts that      Defendants      terminated his employment

agreement without good cause. The employment agreement defines

good cause as whenever the Committee has put forth “any grounds

put forth by the Committee that are not arbitrary, irrational,

unreasonable, in bad faith, or irrelevant to the sound operation

of the school system.” Dkt. 38-3 at 7.

     Defendants   argue   that   for    the   reasons   outlined   in   the

investigative report (the “Report”), there was good cause for

terminating Devine. The Report was compiled by Guilfoil Public

Relations which engaged former Arlington Police Chief Frederick

Ryan and retired Massachusetts State Police Captain Greg Foley to

investigate the allegations against Devine. The Report consisted

of summaries of twelve interviews conducted by Foley, a policy

review, Foley’s conclusions, and several exhibits including school

policies and screenshots of the text messages between Devine and

Hauter. See Dkt. 38-26.

     The Report concluded that Devine’s text messages with Hauter

were “inappropriate, unethical, unacceptable and opportunistic.”

Dkt. 38-26 at 34. The Report chronicled the detrimental effect

that Devine’s actions had on Hauter’s well-being and revealed the



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allegations    of     another     former    student     in   a   different     school

district which mirrored those of Hauter’s allegations.

     The School Committee reviewed the Report and gave Devine the

opportunity to review it and respond. Only then did the School

Committee     vote    to    terminate       Devine’s     employment     agreement.

Defendants    submit       that   termination      on   these    grounds      was   not

arbitrary, irrational, unreasonable, in bad faith, or irrelevant

to the sound operation of the school system.

     Devine responds that the entire investigation was permeated

by bad faith, as reflected in his claims that it violated Due

Process and his First Amendment rights, see supra,3 and that it

was infected with discriminatory animus, see infra. In addition,

Devine argues that his conversation with Hauter was not relevant

to his responsibilities as Superintendent and therefore could not

be a basis for termination for cause.

     “[T]he federal courts are not in the business of reviewing

day-to-day administrative judgments.” Tardif v. Quinn, 545 F.2d

761, 763–64 (1st Cir. 1976). A decision “is not arbitrary and

capricious    if     ‘reasonable     minds      could   differ’    on   the    proper

outcome.” Doe v. Superintendent of Schs. of Stoughton, 767 N.E.2d

1054, 1058 (Mass. 2002) (quoting Kinchla v. Bd. of Appeals of




3 As the Court has already granted summary judgment for Defendants
as to Devine’s civil rights claims, they will not be discussed
further.


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Falmouth, 415 N.E.2d 882, 883 (Mass. App. Ct. 1981)). Bad faith

termination requires a plaintiff to “show that defendant either

(1) intended to benefit financially at plaintiff’s expense; or (2)

terminated plaintiff in violation of a clearly established public

policy.” Shen v. Biogen Idec Inc., 523 F. Supp. 2d 48, 54 (D. Mass.

2007).   “In   Massachusetts,      all    contracts      contain   an    implied

covenant of good faith and fair dealing which provides that each

party involved will not ‘do anything that will have the effect of

destroying or injuring the right of the other party to receive the

fruits of the contract.’” Cummings v. City of Newton, 298 F. Supp.

3d 279, 290 (D. Mass. 2018) (quoting K.G.M. Custom Homes, Inc. v.

Prosky, 10 N.E.3d 117, 124 (Mass. 2014)).

     Applying these standards, the Court finds that there remains

a   triable    issue   of   fact   as     to   whether    Devine’s      personal

conversations two years after a former student had left the high

school and was living in a separate state were relevant to the

sound operation of the school system. How and why Devine’s behavior

toward a former student impacted his ability to manage the Hull

Public Schools is disputed. The Report concluded that Devine had

exhibited “grooming behavior” while Superintendent, but that is a

question of fact for the jury to decide. Moreover, as discussed

below, it is a triable issue of fact whether and to what extent

his termination was motivated by a discriminatory animus against

gay people.


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     Furthermore, “[i]n Massachusetts, all contracts contain an

implied covenant of good faith and fair dealing which provides

that each party involved will not ‘do anything that will have

the effect of destroying or injuring the right of the other

party to receive the fruits of the contract.’” Cummings v. City

of Newton, 298 F. Supp. 3d 279, 290 (D. Mass. 2018) (quoting

K.G.M. Custom Homes, Inc. v. Prosky, 468 Mass. 247, 254, 10

N.E.3d 117 (2014)). It will be up to a jury to decide whether

Defendants acted in bad faith when they voted to terminate

Devine.

     Accordingly, Defendants’ motion for summary judgment as to

Counts II and VI is DENIED.

     C.     Defamation Claim (Count III)

     Devine     contends     that   Defendants   defamed     him   when   they

informed the public that they were investigating his conduct and

had notified the police department of the matter.

     Under Massachusetts law, to prevail on a claim for defamation

the plaintiff must establish that: (1) the Defendant published an

oral (slander) or written (libel) statement; (2) the statement was

about,    and   concerned,    the   plaintiff;   (3)   the    statement   was

defamatory; (4) the statement was false; and (5) the plaintiff

suffered economic loss, or the claim is actionable without proof

of economic loss. Stanton v. Metro Corp., 438 F.3d 119, 124 (1st

Cir. 2006). “The lodestar of Massachusetts defamation law is the


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axiom that truth is an absolute defense to defamation.” Noonan v.

Staples, Inc., 707 F. Supp. 2d 85, 90 (D. Mass. 2010) (quoting

Taylor v. Swartwout, 445 F. Supp. 2d 98, 102 (D. Mass. 2006)).

Here, while releasing the information to the public may well have

been mean-spirited, the record reflects that an investigation was

ordered into Devine’s conduct and the Hull Police Department was

informed   of   the   matter.   Accordingly,    Defendants’   motion   for

summary judgment as to Count III is ALLOWED.

     D.    Common Law Claims (Counts IV, V, and VIII)

           1.     Intentional Infliction of Emotional Distress
                  (Count IV)

     The Massachusetts Tort Claims Act (“MTCA”), Mass. Gen. Laws

ch. 258, “waives the governmental immunity that ‘public employers’

have against tort liability for the ‘negligent or wrongful’ conduct

of their employees done ‘while acting within the scope of [their]

office or employment.’” FBT Everett Realty, LLC v. Massachusetts

Gaming Comm’n, 187 N.E.3d 373, 389 (Mass. 2022) (citing Mass. Gen.

Laws ch. 258, § 2). But while public employers “shall be liable .

. . in the same manner and to the same extent as a private

individual under like circumstances” for the negligence of their

employees acting within the scope of their office or employment,

id., the MTCA’s immunity waiver does not extend to claims for

intentional     torts,   including   claims    for   “intentional   mental

distress.” Mass. Gen. Laws ch. 258, § 10(c). With respect to



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intentional tort claims, the preexisting common-law doctrine of

governmental     immunity,          under    which     “public     employers    were

generally not liable for the torts of their employees,” still

applies. Spring v. Geriatric Auth. of Holyoke, 475 N.E.2d 727, 734

(Mass. 1985). Consequently, even after the passage of the MTCA,

“public employers remain immune from intentional tort claims.” Id.

       The MTCA broadly defines “public employers” to include “the

commonwealth     .    .   .   and    any    department,    office,     commission,

committee, council, board, division, bureau, institution, agency

or authority thereof”; however, excluding “the Massachusetts Port

Authority, or any other independent body politic and corporate.”

Mass. Gen. Laws ch. 258, § 1. As the Defendants are the Town of

Hull and the individuals in their capacities as Town of Hull School

Committee members, they constitute public employers. Therefore,

Defendants are exempt from the claim of Intentional Infliction of

Emotional Distress and summary judgment as to Count IV is ALLOWED.

            2.       Negligent Infliction of Emotional Distress
                     (Count V)

       “A claim for negligent infliction of emotional distress has

five   elements:      ‘(1)    negligence;        (2)   emotional    distress;   (3)

causation; (4) physical harm; and (5) that a reasonable person

would have suffered emotional distress under the circumstances.’”

Elliott-Lewis v. Lab’ys, 378 F. Supp. 3d 67, 71 (D. Mass. 2019)

(quoting Alicea v. Commonwealth, 993 N.E.2d 725, 730 n.9 (Mass.



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2013)). Devine’s claim is not viable because he failed to present

his claim in writing to the executive officer of the Defendant

within two years after the date on which the cause of action arose,

as required under Mass. Gen. Laws ch. 258, § 4.

     Accordingly, Defendants’ motion for summary judgment as to

Count V is ALLOWED.

            3.     Interference with Advantageous Economic Relations
                   (Count VIII)

     Defendants are immune from any claim arising out of the

intentional      tort   of    Interference     with   Advantageous      Economic

Relations   pursuant     to    Mass.   Gen.    Laws   ch.   258,   §   10(c)   and

accordingly,      Defendants’     motion      for   summary   judgment    as    to

Count VIII is ALLOWED.

     E.     Violation of Mass. Gen. Laws ch. 151B (Count VII)

     Both Title VII and Chapter 151B prohibit employers from

discriminating against their employees on the basis of sex or race.

42 U.S.C. § 2000e-2(a)(1); Mass. Gen. Laws ch. 151B, § 4. In

disparate-treatment cases, the plaintiff bears the ultimate burden

of proving that he was the victim of intentional discrimination.

St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 519 (1993). When

plaintiffs are unable to offer direct proof of their employers’

discriminatory animus -- as is usually the case and was so here -

- courts employ the familiar three-step framework set forth in




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McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802–05 (1973).

See, e.g., Hicks, 509 U.S. at 519.

      Under the McDonnell Douglas framework, the plaintiff bears

the   initial   burden   of     establishing   a   prima   facie   case    of

discrimination. McDonnell Douglas, 411 U.S. at 802. A prima facie

case for discrimination based on disparate treatment presents a

four-part test: “(1) the plaintiff must be a member of a protected

class; (2) [he] must be qualified for [his] job; (3) [he] must

suffer an adverse employment action at the hands of [his] employer;

and (4) there must be some evidence of a causal connection between

[his] membership in a protected class and the adverse employment

action.” Bhatti v. Trs. of Bos. Univ., 659 F.3d 64, 70 (1st Cir.

2011).

      Once   the    plaintiff    establishes   a   prima   facie   case,    a

presumption arises that the employer unlawfully discriminated

against the plaintiff. Hicks, 509 U.S. at 506. This presumption

“places upon the defendant the burden of producing an explanation

to rebut the prima facie case -- i.e., the burden of ‘producing

evidence’ that the adverse employment actions were taken ‘for a

legitimate, nondiscriminatory reason.’” Id. at 506-07 (quoting

Texas Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 254 (1981)).

Once the employer articulates a legitimate, nondiscriminatory

reason for firing the plaintiff, “to avoid summary judgment, the

plaintiff    must   introduce    sufficient    evidence    to   support   two


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findings: (1) that the employer’s articulated reason for laying

off the plaintiff is a pretext, and (2) that the true reason is

discriminatory.” Udo v. Tomes, 54 F.3d 9, 13 (1st Cir. 1995).

       Here, the first three elements of the prima facie case are

not disputed: (1) Devine is a member of a protected class based on

his sexual orientation, (2) Devine was qualified for his job, and

(3) he was terminated, which qualifies as an adverse employment

action. The fourth element is the nexus between Devine’s sexuality

and his termination. Plaintiff has presented some evidence of such

a nexus, in particular his public “outing.” During the January 29,

2020   School   Committee   meeting,      School   Committee    Member   Lucas

Patenaude asked Devine directly if he was gay, effectively outing

him to the Committee. See Dkt. 38-2 at 41. When Devine asked if he

was being treated differently because he was gay, Patenaude said

something to the effect of “as a gay man [myself], [I am] extremely

offended” and stated that Devine was giving the gay cause a bad

name. Dkt. 38 at 9.

       Now the burden shifts to Defendants, who respond that they

had    legitimate,    non-discriminatory       reasons    for    terminating

Devine’s employment as Superintendent. They cite to the Report

which described the emotional toll Devine’s conduct had on Hauter,

a young man whom Devine knew to be vulnerable and in distress. The

Report also revealed that a former student at another high school

had a similar experience to that of Hauter, where Devine, who had


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been a role model to the former student, approached him sexually

several years after graduation. The School Committee accepted the

Report,    and    voted    to    terminate       Devine     for   cause,   based   on

inappropriate         conduct,    conduct        unbecoming       his   position   as

Superintendent, and violation of Hull Public School policies and

expectations.

     Defendants having articulated legitimate, non-discriminatory

reasons for the decision to terminate Devine, the burden once again

shifts back to Devine to show that Defendants’ proffered reason is

a pretext for discrimination.

     Devine once again points to the fact that the School Committee

decided to launch its investigation directly after questioning

Devine about his sexuality and Devine confirming that he was gay.

Markedly,       the   notes     from   that      session,    written     before    any

interviews took place and subsequent allegations came to light,

read: “Mr. Devine demonstrated predatory and grooming behavior.”

Dkt. 38-15 at 14. That conclusion was reiterated in the Report

written several months later, despite the fact that none of the

witnesses interviewed stated that they had ever witnessed Devine

acting inappropriately with a current student.

     Based on these facts, a reasonable juror could find that

Devine    was    terminated      because    of    his   sexuality.      Accordingly,

Defendants’ motion for summary judgment as to Count VII is DENIED.




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                                 ORDER

     For the foregoing reasons, Defendants’ Motion for Summary

Judgment (Dkt. 36) is ALLOWED as to Counts I, III, IV, V, and VIII

and DENIED as to Counts II, VI, and VII.

SO ORDERED.
                                 /s/ PATTI B. SARIS
                                 Patti B. Saris
                                 United States District Judge




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